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 1   Daniel Johnson Jr. (Bar No. 57409)
     Mario Moore (Bar No. 231644)
 2   Robert G. Litts (Bar No. 205984)
     DAN JOHNSON LAW GROUP, LLP
 3   1350 Old Bayshore Highway, Suite 520
     Burlingame, CA 94010
 4   Telephone: (415) 604-4500
     dan@danjohnsonlawgroup.com
 5   mario@danjohnsonlawgroup.com
     robert@danjohnsonlawgroup.com
 6
     Lyle B. Vander Schaaf (DC Bar No. 422380)
 7   Fei Hu (DC Bar No. 1016150)
     BRINKS GILSON & LIONE
 8   1775 Pennsylvania Ave, NW, Suite 900
     Washington, DC 20006
 9   Telephone: (202) 296-8700
     lvanderschaaf@brinksgilson.com
10   fhu@brinksgilson.com
     Appearance pro hac vice
11
     Harold V. Johnson (IL Bar No. 6188149)
12   BRINKS GILSON & LIONE
     455 N. Cityfront Plaza Drive, Suite 3600
13   Chicago, IL 60611
     Telephone: (312) 321-4200
14   hjohnson@brinksgilson.com
     Appearance pro hac vice
15

16   Attorneys for Defendant
     FUJIAN JINHUA INTEGRATED CIRCUIT CO., LTD.
17

18                                UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
20   MICRON TECHNOLOGY, INC.,                    Case No. 3:17-CV-06932-MMC
21                  Plaintiff,                   DEFENDANT FUJIAN JINHUA
                                                 INTEGRATED CIRCUIT CO., LTD.’S
22           v.                                  OPPOSITION TO PLAINTIFF MICRON
                                                 TECHNOLOGY, INC.’S MOTION TO LIFT
23   UNITED MICROELECTRONICS                     STAY
     CORPORATION, FUJIAN JINHUA
24   INTEGRATED CIRCUIT CO., LTD.,               Date:              January 8, 2021
     and DOES 1-10,                              Time:              9:00 a.m.
25                                               Judge:             Hon. Maxine M. Chesney
                    Defendants.                  Courtroom:         7, 19th Floor
26

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     DEFENDANT JINHUA’S OPPOSITION TO                         CASE NO. 3:17-CV-06932-MMC
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 1   I.       INTRODUCTION

 2            Fujian Jinhua Integrated Circuit Co., Ltd. (“Jinhua”) opposes Micron’s request to lift the

 3   stay of this matter, which was issued by the Court in July 2019. At the time, the Court recognized

 4   that Jinhua’s defenses would be hampered by the unavailability of key witnesses who would likely

 5   take the Fifth Amendment if called to testify. Nothing has changed that equation, so the Court

 6   should deny Micron’s motion.

 7            The Defendants voiced concern at the time that many witnesses not named as individual

 8   defendants in the criminal matter may assert their rights under the Fifth Amendment (or the

 9   Taiwanese equivalent) based upon their concerns that they could be prosecuted by the Department

10   of Justice. Those same concerns continue to apply because the U.S. criminal case against Jinhua

11   remains slated for trial, and the Taiwan criminal case against United Microelectronics Corporation

12   (“UMC”) and several individual defendants is on appeal after a trial decision was entered in June

13   2020. Due to these pending criminal matters, numerous key defense witnesses, including the

14   named defendants in the U.S. criminal trial (Stephen Chen, J.T. Ho, and Kenny Wang) and other

15   unnamed UMC and Jinhua employees, may seek to invoke the Fifth Amendment if called to testify,

16   thus depriving Jinhua of the ability to mount a full defense.

17            The Court’s July 2019 Stay Order also recognized that judicial efficiency would be greatly

18   aided by allowing the U.S. criminal matter to proceed first, with this matter benefitting from the

19   evidence presented in the criminal matter. Those judicial efficiencies are now more discernable,

20   with the criminal trial currently calendared for August 2021. The stay will not result in an

21   “indefinite delay” as Micron claims, and this civil matter can proceed shortly thereafter using the

22   evidence from that trial. Indeed, Micron’s motion concedes that it intends to heavily rely on

23   matters covered in the Taiwan criminal trial and U.S. criminal matter. Proceeding with this matter

24   after the U.S. criminal trial will avoid duplicative motion practice and eliminate contentious

25   disagreements over the scope of permissible deposition testimony.

26            Contrary to Micron, continuing the stay will not prejudice Micron. Micron will be free to

27   pursue its damages case and any trade secrets above and beyond those in the criminal matter once

28   the criminal matter is resolved, and it will have the benefit of any documents and testimony
                                                    1
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 1   introduced in the U.S. and the Taiwan criminal proceedings. And Jinhua has already been

 2   effectively enjoined since it remains on the Department of Commerce’s Entity List.

 3             In short, all the same reasons for the stay apply now as they did last year. Accordingly, the

 4   stay should remain in place pending the resolution of the criminal trial.

 5
     II.       STATEMENT OF FACTS
 6
               A.     The Timing of This Motion Within the Context of the U.S. and Taiwan
 7                    Criminal Proceedings and the Instant Case
 8             On August 8, 2017, the Taiwan Taichung District Prosecutor’s Office indicted UMC and

 9   UMC employees Kenny Wang, J.T. Ho, and L.T. Rong on charges of trade secret

10   misappropriation. CR-ECF No. 7 at 19. 1

11             On December 5, 2017, Micron filed a Complaint seeking injunctive relief and damages

12   against UMC, Jinhua, and unnamed “Does 1-10” (“Complaint”) for claims under 18 U.S.C. §§

13   1836 and 1839 (Defend Trade Secrets Act); 18 U.S.C. §§ 1962(c) and 1962(d) (Civil RICO); and

14   Cal. Civ. Code § 3426 (California Uniform Trade Secrets Act). ECF No. 1. Micron also named

15   Chen, Ho, and Wang as “Co-Conspirators.” Id. at 4, 5. UMC Filed a Motion to Dismiss for Lack

16   of Personal Jurisdiction on February 15, 2018 (ECF No. 27), and Jinhua filed a Motion to Dismiss

17   for Lack of Jurisdiction and Insufficient Service of Process on October 2, 2018. ECF No. 106.

18   This Court granted Jinhua’s Motion to Dismiss on January 18, 2019 and afforded Micron leave to

19   file an Amended Complaint. ECF No. 139. Micron filed its First Amended Complaint (“FAC”)

20   on February 8, 2019 (ECF No. 140-4), and this Court dismissed UMC’s Motion to Dismiss as

21   moot shortly thereafter. ECF No. 141. UMC and Jinhua then refiled their Motions to Dismiss on

22   February 22, 2019 and March 14, 2019, respectively. ECF Nos. 153 and 168. In its May 2, 2019

23   Order, the Court dismissed Micron’s claims under 18 U.S.C. §§ 1836 and 1839 (Defend Trade

24   Secrets Act), but only to the extent they are based on an acquisition of trade secrets occurring

25   before May 11, 2016. ECF No. 199. The Court also dismissed Micron’s claims under 8 U.S.C.

26   §§ 1962(c) and 1962(d) (Civil RICO) and Cal. Civ. Code § 3426 (California Uniform Trade

27
           1
         Citations to docket entries in 18-cv-6643 and 18-cr-465 are identified as CV-ECF and CR-
28   ECF, respectively, to differentiate from docket entries in the current matter.
                                                      2
     DEFENDANT JINHUA’S OPPOSITION TO                                 CASE NO. 3:17-CV-06932-MMC
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 1   Secrets Act). Id. Micron’s claims under 18 U.S.C. §§ 1836 and 1839 (Defend Trade Secrets Act)

 2   that are based on an acquisition of trade secrets occurring after May 11, 2016 remain in the case.

 3   Id. These claims directly overlap with the claims in the Government’s criminal case against UMC,

 4   Jinhua, Chen, Ho, and Wang. Micron filed its Second Amended Complaint (“SAC”) on May 24,

 5   2019. ECF No. 206.

 6          On September 27, 2018, the United States Department of Justice indicted UMC, Jinhua,

 7   Chen, Ho, and Wang on charges of conspiring to commit economic espionage and theft of trade

 8   secrets, in violation of 18 U.S.C. §§ 1831 and 1832, as well as substantive counts of economic

 9   espionage and theft of and/or receipt of stolen trade secrets. CR-ECF No. 1 (“Indictment”). The

10   Indictment, which was unsealed on November 1, 2018, revealed that the seven counts brought

11   against the Defendants in the criminal case were predicated on the very same acts Micron has

12   alleged as the premise for its claims under 18 U.S.C. §§ 1836 and 1839 (Defend Trade Secrets

13   Act) in the instant case. See id.; ECF No. 247 at 2.

14          On June 12, 2020, the Taichung District Court issued its verdict on the criminal charges

15   against UMC and the individual defendants after a three-month trial that lasted from January to

16   April 2020. See CR-ECF No. 144 at 6. The Taiwanese prosecutor (at Micron’s request) appealed

17   the verdict. Id. UMC and individual defendants J.T. Ho, Kenny Wang, and L.T. Rong (all of

18   whom are named in Micron’s complaint) also appealed. Id.

19          On October 29, 2020, UMC appeared before this Court to enter a guilty plea in the U.S.

20   criminal matter. CR-ECF No. 148. The plea relates to a single trade secret among the eight trade

21   secrets mentioned in the 2018 indictment. Id. at ¶¶ 2(v), 2(w). Jinhua, Ho, Chen, and Wang remain

22   defendants in the criminal matter, which is set for trial in August 2021. ECF No. 256 at 11.

23          B.      The Precise Same Set of Facts Are Alleged by the Government in Its
                    Indictment
24
            In conjunction with its Indictment, the Government filed the United States’ Complaint for
25
     Injunctive Relief on November 1, 2018, Case no. 18-cv-6643 (CV-ECF No. 1 (“Government
26
     Complaint”)) asking for equivalent relief Micron seeks in its SAC. See SAC “Prayer for Relief”
27
     at 45-46; and Government Complaint at ¶ 1, (seeking permanent injunction to prevent UMC,
28
                                                      3
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 1   Jinhua, and Chen from transferring the alleged Micron trades secrets). The Government

 2   subsequently filed a Notice of Related Case in this proceeding the following day (“Notice”), (see

 3   ECF No. 131), giving this Court notice that the Indictment and the Government Complaint were

 4   related to the instant proceeding. In this Notice, the Government made explicit that the

 5   Government Complaint and the “Indictment concern[] the same events as described in Micron’s

 6   civil complaint,” and that “all three actions concern one or more of the same defendants and the

 7   same alleged events, occurrences, transactions, or property.” Notice at 3-4 (internal quotations

 8   omitted).2

 9              Therefore, as the Court noted in granting the stay, the U.S criminal case is “based on the

10   same allegations set forth in the instant civil case, i.e., the acquisition, use and disclosure of

11   Micron’s trade secrets.” ECF No. 247 at 2 (citing Indictment, CR-ECF No. 1, ¶¶ 3-6, 8-9, 18, 20,

12   24-25, 32, 35-45).

13
     III.       LEGAL STANDARD
14
                “Granting a motion to stay is within the sound discretion of the Court.” Fuller v. Amerigas
15
     Propane, Inc., Nos. C 09-2493 TEH, 09-2616 THE, 2009 U.S. Dist. LEXIS 71413, at *2 (N.D.
16
     Cal. Aug. 3, 2009). The power to stay is “incidental to the power inherent in every court to control
17
     the disposition of the causes on its docket with economy of time and effort for itself, for counsel,
18
     and for litigants.” Id. (quoting Rivers v. Walt Disney Co., 980 F. Supp. 1358, 1360 (C.D. Cal.
19
     1997) (quoting Landis v. N. Am. Co., 299 U.S. 248, 254, 57 S. Ct. 163, 81 L. Ed. 153 (1936)
20
     (internal quotation marks omitted))); see also ECF No. 247 at 2 (reciting that a court has discretion
21
     to stay a civil case in favor of a criminal prosecution).
22
                A court may stay a civil proceeding “when the interests of justice seem to require such an
23
     action.” See Jones v. Conte, No. C 04-5312 SI, 2005 WL 1287017, at *1 (N.D. Cal. Apr. 19, 2005)
24
     (quoting Keating v. Office of Thrift Supervision, 45 F.3d 322, 324 (9th Cir. 1995)). Whether to
25
     stay civil proceedings where there is a parallel criminal proceeding should be determined based on
26
     the circumstances and competing interests involved. Id. “In considering whether a stay is
27
            2
          The government recently dismissed UMC from the civil matter pursuant to the plea
28   agreement. CR-ECF No. 148 at ¶ 15.
                                              4
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 1   appropriate, a court ‘should consider the extent to which the defendant’s fifth amendment rights

 2   are implicated,’ and, in addition, ‘should generally consider the following factors: (1) the interest

 3   of the plaintiffs in proceeding expeditiously with the civil litigation or any particular aspect of it,

 4   and the potential prejudice to plaintiffs of a delay; (2) the burden which any particular aspect of

 5   the civil proceedings may impose on defendants; (3) the convenience of the court in the

 6   management of its cases, and the efficient use of judicial resources; (4) the interests of persons not

 7   parties to the civil litigation; and (5) the interest of the public in the pending civil and criminal

 8   litigation.’” ECF No. 247 at 2-3 (citing Keating, 45 F.3d at 324-25).

 9
     IV.    ARGUMENT
10
            A.      Lifting the Stay Will Significantly Impair Jinhua’s Ability to Mount an
11                  Effective Defense Due to the Likelihood that Key Defense Witnesses Will
                    Assert Their Fifth Amendment Rights Rather Than Testify for Jinhua
12
            “[T]he strongest case for deferring civil proceedings until after completion of criminal
13
     proceedings is where a party under indictment for a serious offense is required to defend a civil or
14
     administrative action involving the same matter.” Jones, 2005 U.S. Dist. LEXIS 46962, at *3
15
     (quoting Sec. & Exch. Comm’n v. Dresser Indus., Inc., 628 F.2d 1368, 1375-76 (D.C. Cir. 1980)).
16
     This is particularly true because criminal and civil proceedings arising out of the same matter
17
     present a “concern that allowing the civil action to proceed may undermine the defendant’s Fifth
18
     Amendment privilege against self-incrimination, result in discovery beyond the scope of what the
19
     Federal Rules of Criminal Procedure allow, expose the defense strategy, or otherwise cause
20
     prejudice.” Square 1 Bank v. Lo, No. 12-cv-05595-JSC, 2014 WL 7206874, at *1 (N.D. Cal. Dec.
21
     17, 2014); see also ECF No. 247 at 5 (noting that the disclosures UMC and Jinhua would have to
22
     make in defense of the civil case “would likely be in excess of that to which the government would
23
     be entitled under the Federal Rules of Criminal Procedure” and citing Fed. Ins. Co. v. Laney, No.
24
     C 12-04708 WHA, 2013 WL 594267, at *3 (N.D. Cal. 2013)).
25
            Lifting the stay here prior to the resolution of the criminal case would raise all of the
26
     concerns cited above. Most significantly, it would put key defense witnesses — including current
27
     and former employees of Jinhua and UMC, and potentially countless other third parties — in the
28
                                                       5
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 1   impossible position of deciding between putting themselves in jeopardy of potential criminal

 2   prosecution by testifying and providing discovery on behalf of Jinhua or asserting their Fifth

 3   Amendment, but thereby depriving Jinhua of their favorable testimony. There can be no doubt

 4   that the Fifth Amendment rights of Jinhua and UMC employees (including, but not limited to,

 5   Chen, Ho, and Wang), the unnamed defendants “Does 1-10,” and so-called “founders” of Jinhua

 6   — whom Micron has yet to identify — will be directly implicated if the stay is lifted and the civil

 7   case is allowed to proceed. The SAC lists “Does 1-10” as Defendants and alleges that Chen, Wang

 8   and Ho and Jinhua’s unspecified “founders” were part of a conspiracy. ECF No. 206-3 at ¶¶13-

 9   20, 67. Chen, Wang and Ho were indicted in the criminal case. Although “Does 1-10” and

10   Jinhua’s “founders” were not indicted in the criminal case, as alleged “Co-Conspirators,” they

11   continue to face the significant risk of potential prosecution and thus have valid Fifth Amendment

12   rights. As this Court previously found, because both the civil and criminal actions allege a

13   company-wide conspiracy, UMC and Jinhua officers and employees (other than the three

14   individual defendants in the U.S. criminal case) are likely to be called as witnesses in this case and

15   undoubtedly will assert their respective privileges against self-incrimination as long as the criminal

16   case is ongoing. See ECF. No. 247 at 3.

17          Although Micron argues that Stephen Chen, J.T. Ho, and Kenny Wang are unlikely to ever

18   testify in this case (which is entirely unclear and unknown at this time), 3 the Fifth Amendment

19   rights of other current and former Jinhua and UMC employees are directly implicated. Their

20   conduct, knowledge and motivations in developing the DRAM technology will be the critical

21

22      3
           Micron asserts that individual defendants Chen, Ho, and Wang have not participated in the
     criminal case and argues they never will. This misleading argument should be ignored for a
23   number of reasons. First, Micron offers no evidence to support the allegation that these individuals
     will never participate in the criminal case—the stay should not be lifted based on mere speculation.
24
     Further, Micron inaccurately describes individual defendants Chen, Ho, and Wang as fugitives.
25   ECF No 256 at 10. This statement is false and inflammatory. Chen, Ho, and Wang are not
     fugitives; as Micron concedes, they reside in countries with no extradition treaties with the United
26   States. ECF No 256 at 10-11 (citing United States v. Hsu, 155 F.3d 189, 193 n.2 (3d Cir. 1998)
     (noting absence of an extradition treaty between the U.S. and Taiwan); Shannahan v. IRS., 672
27   F.3d 1142, 1144 (9th Cir. 2012) (“China has no extradition treaty with the United States.”)).
28
                                                       6
     DEFENDANT JINHUA’S OPPOSITION TO                                 CASE NO. 3:17-CV-06932-MMC
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 1   issues Micron must explore in discovery to make its case. It thus goes without question that these

 2   witnesses will be subpoenaed to testify, produce documents, answer interrogatories, and be under

 3   court order to perform other discovery activities once the stay is lifted. But at the same time, many

 4   of them may justifiably fear being investigated and potentially prosecuted by the Department of

 5   Justice if they agree to testify. Accordingly, “if discovery moves forward, [Jinhua and UMC

 6   officers and employees] will be faced with the difficult choice between asserting [their] right

 7   against self-incrimination, thereby inviting prejudice in the civil case, or waiving those rights,

 8   thereby courting liability in the [criminal] case.” Jones, 2005 WL 1287017, at *1.

 9           While corporate defendants do not have a privilege against compulsory self-incrimination,

10   Jinhua’s officers and employees have Fifth Amendment rights and their testimony will be essential

11   to mounting Jinhua’s defense.        See Taylor, Bean & Whitaker Mortg. Corp. v. Triduanum

12   Financial, Inc., No. 2:09-cv-0954 FCD EFB, 2009 U.S. Dist. LEXIS 60849, at *8 (E.D. Cal. Jul.

13   15, 2009). Accordingly, many officers or employees may “assert their respective privileges

14   against self-incrimination” rather than testify on Jinhua’s behalf. ECF No. 247 at 3. As such, just

15   as in 2019, there remains in the civil case a substantial “risk of prejudice to UMC and Jinhua

16   arising from an inability to obtain testimony from individuals who have the right not to incriminate

17   themselves.” ECF No. 247 at 4 (citing Taylor, 2009 U.S. Dist. LEXIS 60849, at *8 (holding,

18   where corporation’s directors and officers had been indicted for engaging in the same conduct for

19   which civil plaintiff sought to hold corporation liable, corporation was “likely to be greatly

20   prejudiced in [its] ability to meaningfully defend itself in the civil matter”); Mr. Dee’s, Inc. v. Int’l

21   Outsourcing Servs., LLC, No. 08-C-457, 2008 WL 4853601, at *1 (E.D. Wis. Nov. 3, 2008)

22   (holding where corporation, “to mount an effective defense” to civil action, needed testimony from

23   indicted officers and employees, “risk of prejudice” to corporation “arising from an inability to

24   access key information and witnesses” was “substantial”)).

25
             Because the testimony of these and other Jinhua (and UMC) officers and employees will
26
     be essential to mounting Jinhua’s defense to Micron’s claims, and because there is a serious danger
27
     that these individuals may invoke their Fifth Amendment rights, the Court should refrain from
28
                                                        7
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 1   lifting the stay until only after the criminal case is finished. Taylor, 2009 U.S. Dist. LEXIS 60849,

 2   at *8. Failure to do so will unquestionably compromise Jinhua’s ability to mount an adequate

 3   defense (see Section IV.B.2).

 4          B.      The Five Keating Factors Also Weigh Heavily in Favor of a Stay
 5          While protecting the constitutional rights at stake alone warrants a stay, the five factors

 6   enumerated in Keating also support a stay.

 7                  1.      Micron Fails to Establish any Significant Prejudice Caused by a
                            Further Stay
 8
            Micron’s Motion speculates about the ongoing relationship between UMC and Jinhua, but
 9
     in reality, little has changed since the defendants’ motion to stay was granted on July 11, 2019.
10
     The operative facts that counseled in favor of the initial stay remain the same. As explained below,
11
     Jinhua ceased operation when the U.S. Government placed Jinhua on the “Entity List,” continues
12
     to be idle and has taken prompt and appropriate measures to preserve evidence. And Jinhua’s
13
     currently scheduled criminal trial is only 8 months away. If anything, the rationale underlying the
14
     initial stay applies more strongly today. As set forth below, Micron’s interests will not be impaired
15
     from a continued stay of this proceeding pending resolution of the parallel criminal case.
16
                            a.       Jinhua Has Effectively Ceased Operation Since Being Placed
17                                   on the “Entity List”
18          Contrary to Micron’s assertions, Jinhua has effectively ceased operations since it was put

19   on the United States Department of Commerce’s “Entity List” on October 30, 2018, which

20   prohibits anyone from exporting or transporting to Jinhua “items subject to the EAR [Export

21   Administration Regulations]” without a license and further imposes a “presumption of denial” as

22   to any license request. See 83 FR 54519-02, 2018 WL 5425570; Declaration of Jinfu Zheng

23   (“Zheng Decl.”) at ¶ 6; Declaration of Mario Moore (“Moore Decl.”), Ex. B [Saif M. Khan, U.S.

24   Semiconductor Exports to China: Current Policies and Trends, CSET (Oct. 2020)], at 12-13

25   (demonstrating Applied Materials, KLA-Tencor, Lam Research, ASML, Tokyo Electron and other

26   Japanese SME firms all stopped working with Jinhua immediately after Jinhua was put on the

27   “Entity List” and thereafter Jinhua halted operations); Declaration of Fei Hu (“Hu Decl.”) at ¶ 3(a).

28   For the same reason, UMC also stopped all Jinhua-related research and development activities on
                                                   8
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 1   October 31, 2018. See Moore Decl., Ex. C [Scott Morgan, Taiwan’s UMC freezes ties with

 2   Chinese firm in response to US sanctions, TAIWAN NEWS (Nov. 1, 2018)]; Zheng Decl. at ¶ 7; Hu

 3   Decl. at ¶ 3(b). To the extent any transfer of any technology developed by UMC occurred, it

 4   happened before Jinhua was placed on the “Entity List.” See CR-ECF No. 148 at 6 ¶ 2(n).

 5          Micron repeats its unsupported accusations that high-ranking UMC employees’ actions

 6   were under Jinhua’s direction. Despite citing to the entirety of “UMC and Jinhua’s DRAM

 7   Technology Cooperation Agreement and UMC’s Hiring of the Individual Defendants” section of

 8   UMC’s Plea Agreement, Micron failed to identify a single fact in the Plea Agreement to support

 9   its arguments — there are none. See CR-ECF No. 148 at 4-10 ¶¶ 2(g)-(z).

10          Micron’s assertion that UMC and Jinhua have used and continue to use Micron’s alleged

11   trade secrets is solely based on the additional published U.S. patent applications assigned to UMC

12   and Jinhua between May 23, 2019 and December 2, 2020 (“Additional Published Applications”)

13   and is misleading.4 The Additional Published Applications are being published in the ordinary

14   course based on applications filed before Jinhua was put on the entity list, a fact Micron chose not

15   to mention. All of the Additional Published Applications claim priority to either a parent Chinese

16   application or a parent U.S. patent application that was filed on or before October 18, 2018. See

17   Ex. F, Tung Decl. at ¶¶ 4-7. Thus, everything is based on past acts, not ongoing cooperation

18   between Jinhua and UMC—the cooperation ended when Jinhua was placed on the Entity List.

19          Micron’s Sinophobic allegations reach a new low when it speculates that the PRC would

20   build a DRAM industry using its alleged “trade secret” “through Jinhua or some surrogate,” “some

21   other PRC DRAM company,” or “other government-owned DRAM startups.” ECF No. 256 at 2,

22   5, 7, 16. Not surprisingly, Micron failed to support its political canard by identifying even one

23
        4
           Notably, Micron provides no support for its assertion (ECF No. 256 at 11) that the 193 patents
24   issued to UMC and Jinhua disclose confidential information of Micron. Given that the patents are
     in the public record (ECF No. 256-6 at ¶¶ 2-3), and many have been there for many months, Micron
25   has the opportunity to review those patents with a technical expert and identify the purported trade
     secrets allegedly disclosed in the patents and yet has chosen not to do so. Micron could also have
26   filed a petition with the Patent Office for correction of inventorship as to any patents for which it
     had evidence that the inventions were actually Micron’s. Instead, Micron simply tabulated the
27   patents on which UMC and Jinhua are both listed as assignees or applicants, with no technical
     analysis of the actual patents. ECF No. 256-6.
28
                                                      9
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 1   such entity. Jinhua has not provided its technology to any third parties, including any Chinese

 2   government agencies, officials, or any other Chinese companies. See Zheng Decl. at ¶ 8.

 3          Micron’s purported concerns about DRAM development in China are belied by its own

 4   activities, as it continues to expand its DRAM manufacturing and R&D facilities in China. See

 5   Moore Decl., Ex. D [Ma Si, Micron bets on Xi’an plant for accolades, CHINA DAILY (Apr. 16,

 6   2020)] (explaining Micron has Xi’an DRAM chip manufacture plant, Shanghai engineering center,

 7   sales, marketing, and customer labs in Beijing, Shanghai and Shenzhen); Hu Decl. at ¶ 3(c).

 8   Moreover, Manish Bhatia, Micron’s executive vice president, has publicly stated that expressed

 9   “emerging Chinese rivals pose no threat” because the memory chipset industry is a moving target

10   and it would take them time to catch up. Moore Decl., Ex. E [Cheng Ting-Fang, et al., Micron

11   says emerging Chinese rivals pose no threat – for now, NIKKEI ASIA (Oct. 7, 2020)]; see also

12   Moore Decl., Ex. F [Experience is more important than money: Micron does not believe in the

13   imminent success of Chinese memory manufacturers and is afraid of competition with them, 4YOU

14   DAILY (Oct. 2020)]; Hu Decl. at ¶¶ 3(d)-(e).

15          As concluded by the Court, “as a practical matter, Jinhua’s ability to manufacture DRAM

16   products has been greatly diminished if not entirely foreclosed.” See ECF No. 230 at 4. Nothing

17   has changed that observation. There has been no cooperation between UMC and Jinhua since

18   then. Despite Micron’s arguments, a further stay of this case would not result in any prejudice to

19   Micron.
                            b.     There Are Sufficient Remedies Available to Micron
20
            Micron is also unable to show any prejudice because, as the Court has correctly found in
21
     its Order granting the stay, any harm to Micron can be remedied by “monetary damages or, . . .
22
     an order directing ownership of UMC/Jinhua patents based on Micron trade secrets be transferred
23
     to Micron, if it obtains a judgment in its favor.” ECF No. 247 at 5. This is especially true because
24
     the technology UMC was working on with Jinhua under the technology development agreement
25
     was not the most up-to-date DRAM design. See Moore Decl., Ex. H [Peter Singer, DRAM, NAND
26
     and Emerging Memory Technology Trends and Developments in 2019, SEMICONDUCTOR DIGEST
27
     (Sept. 13, 2019)] (showing 14nm-20nm are the current DRAM design); Hu Decl. at ¶ 3(g); CR-
28
                                                     10
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 1   ECF No. 148 at 5 (finding the DRAM technology under the UMC and Jinhua technology

 2   development agreement was at least one generation behind the most advanced technology back in

 3   2016 by the Taiwan Ministry of Economic Affairs Investment Committee). Such outdated design

 4   rules in the DRAM industry cannot support Micron’s allegations that “Micron will never be made

 5   whole merely by damages or patent re-assignment” and “they can never be restored.” Micron is

 6   free to enforce the patents, if they are transferred to Micron after the final judgment, against any

 7   entity employing the patented technology.

 8          Micron’s reliance on Starlight Int’l, Inc. v. Herlihy, No. CIV.A. 97-2329-GTV, 1998 WL

 9   560045 (D. Kan. Aug. 4, 1998), is as misplaced now as it was during the briefing of the initial

10   stay. The stay in Starlight was granted because there was a significant risk the defendant would

11   dissipate assets. Id. at *9. As the Court noted, Micron failed to assert that “Jinhua is likely to

12   dissipate assets, including any current or future patents.” ECF No. 247 at 5 n.6. Yet again, Micron

13   has not asserted such a possibility.

14                          c.      Evidence Preservation Measurements Have Been Implemented
15          Micron’s allegation that the continued stay of the case would risk the loss of third-party

16   evidence is largely unfounded and speculative.         Micron specifically pointed out Jinhua’s

17   equipment vendors as such third parties, relying on Genentech, Inc. v. JHL Biotech, Inc. But

18   Genentech does not support its position. No. C 18-06582 WHA, 2019 WL 1045911, at *25-26

19   (N.D. Cal. Mar. 5, 2019). Unlike here, in Genentech, the third parties were the plaintiff’s direct

20   competitors. See id. at *53-54. Jinhua did not disclose any information to any of Micron’s direct

21   competitors or anyone else. See Zheng Decl. at ¶ 8. However, Micron has actually subpoenaed at

22   least Applied Materials, Inc., KLA-Tencor Corporation and Lam Research Corporation early in

23   the case and they have participated in this case as interested parties and/or miscellaneous parties.

24   See Moore Decl., Ex. I [Notice of Subpoena to KLA-Tencor Corporation (June 4, 2019)]; Moore

25   Decl., Ex. A [Notice of Subpoena to Applied Materials, Inc. (June 4, 2019)]; ECF Nos. 145

26   (demonstrating Micron served a subpoena to Lam Research on July 13, 2018), 146, 147, and 148

27   (showing Applied Materials, KLA-Tencor and Lam Research all retained counsel in this case).

28
                                                     11
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 1   All of these third-party equipment vendors are sophisticated companies and presumably

 2   represented by counsel and have been informed about their duty to preserve evidence.

 3          Micron’s attempt to use its own employee attrition to justify the alleged loss of witnesses

 4   and evidence from UMC, Jinhua or third parties is unjustifiable. There is no basis to extrapolate

 5   UMC’s or Jinhua’s employee retention from that of Micron. Nor has Micron supported the notion

 6   that memories have failed because former employees are no longer in the same place. Micron’s

 7   baseless claims about the threat of lost evidence resulting from the passage of time and Micron

 8   employees leaving Micron should be rejected. ECF No. 256 at 11, 14. There is no showing as to

 9   any relevance of any such employees. Nor is there any showing by Micron that it could not still

10   call those individuals as third-party witnesses in this case. In fact, Micron should be able to

11   preserve all the Micron documents possessed by each of its former employees and its failure to do

12   so cannot serve as a basis for Micron to claim prejudice.

13          In furthering its argument that evidence will be lost, Micron continues to lump Jinhua

14   together with UMC and improperly suggests that because one UMC laptop went missing that is

15   somehow attributable in part to Jinhua. The UMC Public Laptop 2 that Micron claimed has not

16   been provided to the Taiwan authorities or the United States went missing prior to the searches

17   conducted by the Taiwan authority on February 7, 2017, about 10 months before Micron filed the

18   original complaint against UMC and Jinhua in this Court. See CR-ECF No. 148 at 9 ¶ 2(y). UMC

19   also agreed to conduct “an internal investigation by a reputable international law firm into the

20   disposition and current whereabouts of Public Laptop 2.” See id. at 12 ¶ 9(e). Other than by

21   innuendo, Micron made no assertion, and provided no support for the fact that Jinhua has any

22   knowledge about the missing laptop. UMC’s inability to locate its Public Laptop 2 cannot be used

23   to infer that Jinhua will destroy evidence.

24          Micron cited Wang Decl. ¶ 3 and Ex. 1 at 10 in support of its claim that “a UMC senior

25   manager ordered the destruction of relevant evidence.” A careful review of the cited documents

26   reveals nothing remotely supporting Micron’s statement much less the notion that Jinhua had

27   anything to do with it.

28
                                                     12
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 1           Jinhua acted appropriately in issuing a document hold notice for this case, and the hold

 2   remains in place. See Zheng Decl., ¶¶ 3-4. Jinhua implemented measures preserving evidence

 3   early in the case and continues to preserve evidence, and Micron has not provided any evidence

 4   supporting its alleged concern relating to the destruction by Jinhua, UMC or any of the third parties

 5   of evidence during the continued stay of this case. Any prejudice to Micron during the continued

 6   stay is thus negligible.

 7                              d.   Both Jinhua’s Civil and Criminal Investigation Status Show a
                                     Continued Stay Has No Prejudice to Micron
 8
             When the stay was granted, the civil case was in its very early stages—neither UMC nor
 9
     Jinhua had answered and Micron’s Second Amended Complaint was dismissed, without prejudice.
10
     The Court acknowledged this fact and supported the stay because the “vast majority of factual
11
     disputes pertaining to liability in the instant case are likely to be resolved in the course of the
12
     criminal case.” ECF No. 247 at 6. The parallel criminal case against UMC supported the Court’s
13
     finding, as the criminal investigation against UMC has significantly narrowed to one count. Not
14
     only that, the continued stay of this case against Jinhua will not result in an “indefinite delay” as
15
     asserted by Micron. The criminal trial is currently scheduled for August 2021. See CR-ECF No.
16
     138. With the strong likelihood that the criminal investigation would streamline and narrow the
17
     issues, the continued stay of the civil proceeding against Jinhua does not prejudice Micron.
18                          e.      The Proximity of the Jinhua Criminal Trials Compels
                                    Maintaining the Stay
19
              The fact that the criminal trial is currently scheduled for August 2021 further weighs in
20
     favor of continuing the stay. The prejudice to Micron of continuing the trial for this period will be
21
     negligible, if not non-existent, and will be far outweighed by the prejudice to Jinhua of lifting the
22
     stay. Courts have repeatedly favored a stay of a civil case in circumstances where the overlapping
23
     criminal proceeding was close to trial. Taylor, 2009 U.S. Dist. LEXIS 60849, at *2 (granting a
24
     six-month stay of all proceedings in a civil fraud case when a parallel criminal case was headed to
25
     trial); McCormick v. Rexroth, Case No. C 09-4188 JF, 2010 U.S. Dist. LEXIS 35783, 2010 WL
26
     934242 (N.D. Cal. Mar. 15, 2010) (“Given the proximity of the trial date in the criminal case, there
27

28
                                                      13
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 1   is little to be gained from a situation in which the Court likely would be called upon to determine

 2   what types of discovery do and do not fall within the bounds of a partial stay.”).

 3                  2.      Jinhua Would Be Significantly Prejudiced if the Stay is Lifted
 4           As detailed previously (see Section IV.A), Jinhua would be significantly prejudiced if the

 5   stay is lifted because key defense witnesses would be reluctant to waive their Fifth Amendment

 6   rights to testify in this case while the criminal case is pending, thus depriving Jinhua of valuable

 7   evidence. Moreover, the broader scope of civil discovery may unfairly impact Jinhua.

 8                          a.      The Implicated Fifth Amendment Rights Extend to Nearly the
                                    Entire Case and Will Have an Extensive Impact
 9
             When evaluating the extent to which a defendant’s Fifth Amendment rights are implicated,
10
     courts also consider: (a) the extent to which the issues in the criminal case overlap with those
11
     presented in the civil case; (b) the status of the criminal proceeding, including whether the
12
     defendant has been indicted; and (c) whether the civil proceedings may expand the scope of
13
     criminal discovery beyond the limits of the FRCP or otherwise prejudice the case. Taylor, 2009
14
     U.S. Dist. LEXIS 60849, at *6; Walsh Secs., Inc. v. Cristo Prop. Mgmt., Ltd., 7 F. Supp. 2d 523,
15
     527 (D.N.J. 1998). These factors when analyzed in the context of this case weigh heavily in favor
16
     of a stay.
17
             The issues in the criminal proceeding do not just overlap with the issues in this proceeding;
18
     they are essentially identical. See ECF No. 247 at 2 (finding the United States has charged UMC,
19
     Jinhua, Chen, Ho, and Wang with violating 18 U.S.C. §§ 1831(a) and 1832(a), based on the same
20
     allegations set forth in the instant civil case). Both the Government and Micron allege that Jinhua
21
     and UMC devised a scheme to steal Micron’s trade secrets and allege the same motivations for
22
     doing so. Both implicate the identical cast of players (Jinhua, UMC, Chen, Ho, and Wang), and
23
     allege wrongdoing based on the exact same alleged conduct of those players. In its Order denying
24
     the Motions to Dismiss, this Court recognized the overlap, finding that the Indictment “aris[es]
25
     from the same factual allegations as those asserted in the instant civil action.” See ECF No. 247
26
     at 13. The Government too recognizes them to be the same, as noted in the Notice of Related
27
     Cases filed in this proceeding “all three actions concern . . . the same alleged events, occurrences,
28
                                                      14
     DEFENDANT JINHUA’S OPPOSITION TO                                 CASE NO. 3:17-CV-06932-MMC
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 1   transactions, or property.” See Notice at 4 (referencing the Complaint, the Indictment, and the

 2   Government Complaint). And, in light of the substantial overlap, the Government had no objection

 3   to its own civil complaint being stayed because of it. CR-ECF No. 25-1. This factor alone shows

 4   that proceeding here will substantially implicate the Defendants’ and most of the essential

 5   witnesses’ Fifth Amendment rights against self-incrimination, create unnecessary complexities

 6   with respect to discovery, expose the Defendants’ strategy or theories with respect to the criminal

 7   proceeding, or otherwise prejudice the pending criminal proceedings.

 8          The status of the parallel proceedings does not change this analysis. Here, Jinhua, UMC,

 9   Chen, Ho, and Wang have all been indicted. Because the Fifth Amendment rights of Jinhua’s

10   employees have been directly-implicated by the ongoing criminal prosecution and Jinhua cannot

11   realistically defend against Micron’s claims in this proceeding without the assistance of these

12   witnesses, Jinhua’s ability to defend itself in this case will be significantly jeopardized if the stay

13   is lifted while the criminal case is pending.

14          Furthermore, there is considerable risk that the broader scope of civil discovery here will

15   impair the integrity of the parallel criminal proceeding.        Disclosures required in this civil

16   proceeding will be highly relevant to the issues in the criminal proceeding and will give the

17   government access to discovery it cannot obtain itself under the Federal Rules of Criminal

18   Procedure (such as documents derived from initial disclosures, defendants’ responses to

19   interrogatories, pleadings, and admissions at any depositions). See Fed. Ins. Co., 2013 U.S. Dist.

20   LEXIS 21250, at *8; see also Square 1 Bank, 2014 WL 7206874, at *2 (observing “it is possible

21   that any information [the defendant] produces to fulfill his civil discovery obligations—in

22   particular, requests for admissions and deposition testimony—may be used against him in his

23   criminal case.”); ECF No. 247 at 5 (noting that the disclosures UMC and Jinhua would have make

24   in defense of the civil case “would likely be in excess of that to which the government would be

25   entitled under the Federal Rules of Criminal Procedure”). If this proceeding were to proceed in

26   tandem with the criminal proceeding, the more liberal obligations under civil discovery rules could

27   force Jinhua, UMC — and potentially Chen, Ho, Wang, and other individuals — to produce

28   materials that would expose facts that they would not be required to produce in the criminal
                                                  15
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 1   proceeding, and substantially prejudice all the indicted parties when they would inevitably be used

 2   against them there anyway.

 3           Therefore, since the simultaneous civil and criminal proceedings involve nearly identical

 4   facts, Fifth Amendment concerns weigh heavily in favor of granting a stay. See United States v.

 5   Booth, CIV-F-09-1689 AWI BAK, 2010 U.S. Dist. LEXIS 9123 (E.D. Cal. Jan. 19, 2010) (staying

 6   a civil case completely until resolution of the parallel criminal case); Taylor, 2009 U.S. Dist.

 7   LEXIS 60849, at *2 (granting a six-month stay of all proceedings in a civil fraud case when a

 8   parallel criminal case was ongoing because “[b]oth the civil and criminal cases arise from the

 9   alleged scheme to defraud . . . [, and as] such, the pending civil litigation may substantially

10   implicate defendants’ Fifth Amendment rights against self-incrimination, create unnecessary

11   complexities with respect to discovery, expose defendants’ strategy or theories with respect to the

12   criminal case, or otherwise prejudice the pending criminal proceedings.”); Acacia Corp. Mgmt.,

13   LLC v. United States, CIV F-07-1129 AWI GSA, 2009 U.S. Dist. LEXIS 49484, 2009 WL

14   1531099 (E.D. Cal. May 28, 2009) (granting stay of civil action until the resolution of the parallel

15   criminal case); Sec. & Exch. Comm’n v. Nicholas, 569 F. Supp. 2d 1065 (C.D. Cal. 2008) (same);

16   Bureerong v. Uvawas, 167 F.R.D. 83 (C.D. Cal. 1996) (same).

17

18
                     3.      Court Convenience and Judicial Resource Efficiency Weigh in Favor
19                           of Continuing the Stay
20           As this Court previously recognized, the United States has charged UMC, Jinhua, Chen,

21   Ho, and Wang with violating 18 U.S.C. §§ 1831(a) and 1832(a), based on the same allegations set

22   forth in the instant civil case, i.e., the acquisition, use and disclosure of Micron's trade secrets. ECF

23   No. 247 at 2. Accordingly, many of the factual disputes pertaining to liability in the civil case are

24   likely to be resolved in the course of the criminal case. Id. at 6. As such, even if the civil case

25   remains stayed, the Court will not have to ascend the learning curve twice as asserted by Micron

26   because resolution of at least some of the substantial factual dispute in the criminal case will ease

27   the Court’s burden in learning facts in the civil case. See ECF No. 256 at 15.

28
                                                       16
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 1           In addition, although the civil case has been pending for approximately three years, it

 2   remains at its very early stages. Neither UMC nor Jinhua has filed an answer. With the exception

 3   of limited jurisdictional discovery related to UMC prior to the commencement of criminal

 4   proceedings, no discovery has commenced. Therefore, continuing the stay is the more efficient

 5   approach. See Sec. & Exch. Comm’n v. Alexander, No. 10-CV-04535-LHK, 2010 WL 5388000, at

 6   *5 (N.D. Cal. Dec. 22, 2010) (“[W]hile it is generally preferable to avoid delay, in this case, where

 7   no answer has been filed and several defendants have not yet appeared, a stay may prove the more

 8   efficient course”); Taylor, 2009 WL 2136986, at *4 (finding that a stay would make efficient use

 9   of judicial resources where “[n]o answer has been filed, no scheduling order has been issued, and

10   no dispositive motions have been filed”). A stay is especially appropriate for purposes of advancing

11   judicial efficiency where, as here, the proceeding is in its very early stages. See Medina v. Argent

12   Mortg. Co., No. 05-cv-2905 RS, 2006 U.S. Dist. LEXIS 30582, at *7-8 (N.D. Cal. May 11, 2006)

13   (“As discovery has not yet begun in this case, only the initial pleadings have been filed, and no

14   dispositive motions have yet been presented, the efficient use of judicial resources favors a stay in

15   this action.”).

16           Micron relies on Bell ex. rel. Eco Sci. Sols., Inc. v. Taylor, No. 17-00530 LEK-RLP, 2019

17   U.S. Dist. LEXIS 70528, at *11 (D. Haw. Apr. 26, 2019) to argue that opening discovery in the

18   civil case now will not likely create unnecessary duplication with the pending criminal case.

19   Micron’s reliance is misplaced. In Bell, only one of five specifically named individual defendants

20   in the civil case was charged in the criminal case, and the other four individual defendants were

21   able to proceed with discovery unhindered by Fifth Amendments concerns in the civil case. As set

22   forth above, the Fifth Amendment implications in this case are much broader. Here, the SAC lists

23   “Does 1-10” as Defendants and alleges that Chen, Wang and Ho and Jinhua’s unspecified

24   “founders” were part of a conspiracy. ECF No. 206-3 at ¶¶13-20, 67. As stated above, all of these

25   individuals face significant risk of burdening their Fifth Amendment rights by proceeding in the

26   civil case because they will likely be called as witnesses in the civil case and undoubtedly will assert

27   their respective privileges against self-incrimination as long as the criminal case is ongoing. See

28   ECF. No. 247 at 3. As such, lifting the stay of the civil case will result in duplicative proceedings
                                                     17
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 1   because the parties and the Court will be forced to consistently evaluate Defendants’ and their

 2   witnesses’ assertions of the Fifth Amendment rights.

 3          In advancing the notion that the Court’s case management weighs in favor of lifting the stay,

 4   Micron relied on Cal-Cleve v. Wrag-Time Air Freight, Inc., which pertains to a significantly

 5   different situation. In Cal-Cleve, none of the defendants in the civil case had actually been indicted.

 6   No. CV 04-10543 SJO (JTLx), 2005 WL 8157878, at *5 (C.D. Cal. May 20, 2005). Moreover,

 7   there, the stay may have lasted at least five years because the federal criminal claims were subject

 8   to a five-year statute of limitations. Id. at *2, *4. However, in the instant case, the stay has been

 9   imposed for only one and a half years. Additionally, resuming the civil proceeding after the

10   criminal proceeding may promote a more streamlined civil discovery and swifter resolution of the

11   same. See Volmar Distribs., Inc. v. N.Y. Post Co., 152 F.R.D. 36, 42 (1993) (stating that “the

12   outcome of the criminal case may encourage settlement”); Douglas v. United States, Nos. C 03-

13   04518, C 04-05357, 2006 U.S. Dist. LEXIS 52754, at *17 (N.D. Cal. 2006) (allowing the criminal

14   action to proceed first to narrow the issues and streamline discovery in the civil proceeding); Wroth

15   v. City of Rohnert Park, No. 17-cv-05339-JST, 2018 WL 888466, at *3 (N.D. Cal. Feb. 14, 2018)

16   (finding that “[t]he resolution of the criminal matter may narrow the scope of civil discovery”).

17   Therefore, the Court’s interest in convenience and efficiency of judicial resources would be better

18   served by staying this proceeding pending the outcome of the criminal proceeding. See McCormick,

19   2010 WL 934242, at *3-4 (“Given the proximity of the trial date in the criminal case, there is little

20   to be gained from a situation in which the Court likely would be called upon to determine what

21   types of discovery do and do not fall within the bounds of a partial stay.”); see also ECF No. 247

22   at 6 (finding that case management concerns and certain efficiencies in judicial time and resources

23   also weigh in favor of a stay).

24                  4.      Third Party and Public Interests Will Not Be Impaired By
                            Continuation of the Stay
25
            Micron fails to identify any third-party companies in the DRAM sector that would be
26
     adversely affected by the continuance of the stay. ECF No. 256 at 16. Micron’s reliance on Cal-
27
     Cleve in this regard is misplaced. In Cal-Cleve, judicial notice gave rise to the concern that the
28
                                                      18
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 1   defendant was likely to continue with its alleged practice of unfairly competing with third-party

 2   providers. 2005 WL 8157878, at *5. Here, Micron does not present any evidence that Jinhua

 3   unfairly competed with any third-party DRAM company, much less unfairly competed using

 4   Micron’s trade secrets. In fact, as explained previously, Jinhua has effectively ceased operation

 5   since being placed on the “Entity List,” which prohibits anyone from exporting or transporting to

 6   Jinhua “items subject to the EAR [Export Administration Regulations” without a license. Jinhua’s

 7   operational cessation definitely demonstrates its inability to harm any third-party companies in the

 8   DRAM sector.

 9           The public interest is furthered by a stay because the “public’s interest in the integrity of the

10   criminal case is entitled to precedence over the civil litigant.” Jones, 2005 U.S. Dist. LEXIS 46962,

11   at *5 (quoting Javier H. v. Garcia-Botello, 218 F.R.D. 72, 75 (W.D. N.Y. 2003)). In fact, the

12   public’s interest is in “ensuring that the criminal process is not subverted by ongoing civil cases.”

13   Douglas, 2006 U.S. Dist. LEXIS 52754, at *18-19. In granting the stay, this Court previously found

14   that, although the public has a strong interest in the protection of trade secrets, such interest is

15   advanced by the pending criminal prosecution. Nothing Micron advanced in its motion justifies

16   revisiting that analysis.

17           Under the guise of public interest, Micron makes a speculative political argument that,

18   because China reiterated its commitment to “technology self-reliance,” “other state-owned DRAM

19   startups in China can easily take Jinhua’s place” and exploit Micron’s technology. ECF No. 256 at

20   16-17. First, politics have no place in this case. Second, Micron’s assertion that the Chinese

21   government would order the transfer of the purportedly misappropriated trade secret to other state-

22   owned DRAM companies in China is wholly unfounded and unsupportable. Jinhua has not

23   transferred its DRAM technology to any third party. Zheng Decl., ¶ 8. Finally, Micron’s argument

24   obviously ignores the massive expenditure of funds required to start a DRAM business, activity

25   that would be obvious to anyone in the industry if such activity were actually occurring. There is

26   absolutely no support for Micron’s assertions that China would use “other state-owned DRAM

27   startups in China . . . [to] take Jinhua’s place.” ECF No. 256 at 16.

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 1          Here, the public has an interest in ensuring the integrity of the still-pending criminal

 2   prosecution of Jinhua, and respecting the integrity of the still-pending criminal proceedings in

 3   Taiwan. Moreover, any continuing third-party interest on behalf of Micron is adequately protected

 4   by Jinhua’s placement on the Entity List, such that Micron will not be prejudiced by the stay.

 5          Furthermore, the interests of third parties and the public are outweighed by Fifth

 6   Amendment concerns and the interests of justice. See Rodriguez v. Summit Mortg. Realty, Inc., No.

 7   C05-02904 HRL, No. C05-02905 HRL, 2007 U.S. Dist. LEXIS 53179 (N.D. Cal. July 11, 2007)

 8   (continuing a stay of civil proceedings for seven months or until the criminal trial was complete,

 9   whichever came first, because of Fifth Amendment concerns, and stating that “[w]hile the court

10   and the public generally have an interest in the expeditious resolution of litigation, under the

11   circumstances presented here, the court concludes that, on balance, the interests of justice require

12   an extension of the stay of these proceedings.”). Therefore, third-party and public interests will not

13   be impaired by a continuation of the stay.

14   V.     CONCLUSION

15          For the reasons set forth herein, Jinhua respectfully requests that the Court maintain the

16   stay of this action pending resolution of the parallel criminal proceedings, including the Taiwan

17   criminal appeal and the U.S. criminal trial scheduled for August 2021.

18

19   DATED: December 18, 2020
20                                                         DAN JOHNSON LAW GROUP, LLP
21                                                         By: /s/ Daniel Johnson Jr.
                                                           Daniel Johnson Jr.
22

23                                                         Daniel Johnson Jr. (Bar No. 57409)
                                                           Mario Moore (Bar No. 231644)
24                                                         Robert G. Litts (Bar No. 205984)
                                                           DAN JOHNSON LAW GROUP, LLP
25                                                         1350 Old Bayshore Highway, Suite 520
                                                           Burlingame, CA 94010
26                                                         Telephone: (415) 604-4500
                                                           dan@danjohnsonlawgroup.com
27                                                         mario@danjohnsonlawgroup.com
                                                           robert@danjohnsonlawgroup.com
28
                                                      20
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                                             Lyle B. Vander Schaaf (DC Bar No. 422380)
 1                                           Fei Hu (DC Bar No. 1016150)
 2                                           BRINKS GILSON & LIONE
                                             1775 Pennsylvania Ave, NW, Suite 900
 3                                           Washington, DC 20006
                                             Telephone: (202) 296-8700
 4                                           lvanderschaaf@brinksgilson.com
                                             fhu@brinksgilson.com
 5                                           Appearance pro hac vice
 6
                                             Harold V. Johnson (IL Bar No. 6188149)
 7                                           BRINKS GILSON & LIONE
                                             455 N. Cityfront Plaza Drive, Suite 3600
 8                                           Chicago, IL 60611
                                             Telephone: (312) 321-4200
 9
                                             hjohnson@brinksgilson.com
10                                           Appearance pro hac vice

11
                                             Attorneys for Defendant
12                                           FUJIAN JINHUA INTEGRATED CIRCUIT
                                             CO., LTD.
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